     Case 3:16-cv-02077-GAG-BJM Document 135 Filed 08/21/17 Page 1 of 2



                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF PUERTO RICO


IVETTE M. MARTÍNEZ GONZÁLEZ, et als.

              Plaintiffs                                   CIVIL NO. 16-2077

                   v.

CATHOLIC SCHOOLS OF THE                                    CIVIL ACTION UNDER
ARCHDIOCESES OF SAN JUAN                                   THE PROVISIONS OF
PENSION PLAN, et als.                                      E.R.I.S.A.; PRELIMINARY
                                                           AND PERMANENT
            Defendants                                     INJUNCTION; TEMPORARY
                                                           RESTRAINING ORDER



 MOTION REQUESTING LEAVE AND ACCEPT PLAINTIFFS’ MOTION TO COMPEL
            (DKT. NO. 123) IN EXCESS OF THE 15-PAGE LIMIT

TO THE HONORABLE COURT:

       COME NOW plaintiffs, through their undersigned attorneys and respectfully state

and pray:

       1.     On July 31, 2017 plaintiffs filed a Motion to Compel Discovery and

Request for Extension of Time to File Response in Opposition to Motion to Dismiss. Dkt.

number 123. Said motion is 21 pages long, just 6 pages in excess of the page-length

provided by Local Rule 7(d).

       2.     Plaintiffs involuntarily omitted to request leave from this Honorable Court

to file its motion in excess of the 15-page limit of said rule.

       3.     Defendants Catholic Schools of the Archdioceses of San Juan Pension

Plan and the Superintendence of Catholics Schools of the Archdioceses of San Juan

filed a Motion to Strike plaintiffs’ Motion to Compel Discovery (Dkt. number 132) based
     Case 3:16-cv-02077-GAG-BJM Document 135 Filed 08/21/17 Page 2 of 2



only in Local Rule 7(d).

       4.     Due to the nature of the case, the complex legal issues at hand, and the

extent of defendants’ objections to plaintiffs’ discovery requests, plaintiffs had to exceed

the page limit set forth by Local Rule 7(d).

       5.     Thus, plaintiffs respectfully move this Honorable Court to grant them leave

to exceed the aforementioned page limit and accept the Motion to Compel filed by them

and, therefore, deny co-defendants’ Motion to Strike.

       WHEREFORE, it is respectfully requested from This Honorable Court to enter

and order as herein requested.

       RESPECTFYULLY SUBMITTED.

       WE CERTIFY that on this same date plaintiffs filed the instant motion using the

CM/ECF System which will send notification to all counsel of record.

       In San Juan, Puerto Rico, this 21st day of August, 2017.




CARLOS F. LOPEZ LAW OFFICE                              AMUNDARAY, VILLARES
P.O. Box 8852                                           & ASSOCIATES, PSC
San Juan, P.R. 00910-0852                               P.O. Box 9023980
Tel. 787-273-0611                                       San Juan, PR00902-3980
Fax 787-273-1540                                        Tel. (787) 273-0611
E-Mail: charlielopez@gmail.com                          Fax (787) 273-1540
        cflopez@atriumoc.com                            E-Mail: fjamundaray@aol.com
                                                                 fjamundaray@me.com


s/ Carlos F. López                                      s/FRANCISCO J. AMUNDARAY
Carlos F. López, Esq.                                   USDC-PR-208706
USDC 126514




                                               2
